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		OSCN Found Document:IN RE AMENDMENTS TO RULES 4, 5, 6, 7, 9, 10 OF STATE BD. OF EXAMINERS OF CERTIFIED SHORTHAND REPORTERS

					

				
  



				
					
					
						
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				IN RE AMENDMENTS TO RULES 4, 5, 6, 7, 9, 10 OF STATE BD. OF EXAMINERS OF CERTIFIED SHORTHAND REPORTERS2021 OK 66Decided: 12/13/2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 66, __ P.3d __

				

In re: Amendments to Rules 4, 5, 6, 7, 9 and 10 of the State Board of Examiners of Certified Shorthand Reporters, 20 O.S. 2011, ch. 20, app. 1



ORDER



Rules 4, 5, 6, 7, 9 and 10 of the State Board of Examiners of Certified Shorthand Reporters, 20 O.S. 2011, ch. 20, app. 1, are hereby amended as shown on the attached Exhibit "A." The amended rules shall be effective January 1, 2022.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 13TH DAY OF December, 2021.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


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EXHIBIT A

Rules of the State Board of Examiners of Official Shorthand Reporters
Title 20, Chapter 20, App. 1
Rule 4 - Test Requirements
a)A. Candidates will be allowed in the testing room an hour early to set up and practice. When testing begins, one minute of warmup will be dictated at 180 jury charge, followed by three five-minute 180 jury charge tests, followed by one minute of warmup at 200 Q&amp;A, followed by three five-minute 200 Q&amp;A tests. Transcription time will begin after all dictation is complete.

The examination for enrollment as a certified shorthand reporter shall consist of the following set forth in (1), (2) and (3):

1) Testimony and Proceedings Skills Examination--

(a) Three tests will be administered using a two-voice question-and-answer dictation of testimony at two hundred (200) words per minute for five (5) minutes. Speaker designations such as "Q" and "A" will not be read nor counted as words, but must be appropriately indicated in the transcript.

(b) One (1) hour Seventy-five (75) minutes per test will be given for the transcription of the question-and-answer dictation. The candidate will choose which leg to transcribe in which order and must sign in and out in a log provided by the CSR Board to accurately record the transcription time of each leg. The candidate may choose to transcribe and submit two of the three tests for grading,

2) Literary Jury Charge Materials Skills Examination -- Three tests will be administered using a five-minute dictation of jury charge material at one hundred eighty (180) words per minute. One (1) hour Seventy-five (75) minutes per test will be given for the transcription of the jury charge dictation. Candidate will choose which leg to transcribe in which order and must sign in and out in a log provided by the CSR Board to accurately record the transcription time of each leg. The candidate may choose to transcribe and submit two 180 jury charge tests for grading.

3) The Oklahoma Written Knowledge Test -- A written knowledge test of not less than twenty-five (25) multiple choice questions relating to the Oklahoma law and court rules, duties of certified shorthand reporters, and general court procedure. This section of the examination will be administered in forty-five (45) minutes. Applicants will be provided with the study aids from which the test questions will be taken. The written knowledge test may be administered together with or separately from the skills examination. There is no annual limitation on the number of times the written knowledge test may be administered.

b) B. Candidates may take one or both of the skills examinations at any regularly scheduled examination. A candidate who has successfully completed either of the skills examinations may retain the credit for that portion of the examination for two (2) years from the date passed, and will not be required to retake that portion of the examination during the two (2) year period.

c) C. Candidates may take the Oklahoma Written Knowledge Test at any regularly scheduled examination. Proof of minimum proficiency shall not be required for candidates taking only the Oklahoma Written Knowledge Test. A candidate who has successfully completed the Oklahoma Written Knowledge portion of the examination may retain the credit for that portion of the examination for two (2) years from the date passed, and will not be required to retake that portion of the examination during the two (2) year period.

d) D. A candidate who provides proof of passing the Registered Professional Reporter Examination of the National Court Reporters Association, or an equivalent test as authorized by the Supreme Court, is eligible for enrollment without taking the skills examinations described in paragraphs (a)A.(1) and (a)A.(2) of this Rule. A candidate may pass one leg of the CSR test and one leg of the RSR to be eligible for enrollment as an Oklahoma CSR, provided that the legs meet the totality of the skills tests requirements; a 180 jury charge and a 200 Q&amp;A. The applicant must, prior to certification, pass the Oklahoma Written Knowledge portion of the examination, and meet all other applicable eligibility requirements.

Rule 5. Transcripts - Supplies. 

a. Each candidate shall furnish all supplies and equipment necessary to take and transcribe the test, including a thumb drive to be submitted for ease of printing, with the exception of transcription paper and other items included in (c). Prior to each examination the Board will advise applicants of the permitted computer and/or word processing equipment that may be used to transcribe the examination.

b. A dictionary/electronic spell checker is permitted to be used in transcribing the test but must be furnished by the applicant.

c. The CSR Board will provide the printer, toner, and paper to print all tests. For each test, once transcription is complete, the candidate must upload their test and their steno notes in two separate PDF files to their thumb drive. The candidate will submit the thumb drive to the CSR Board for printing and grading of their test.

Rule 6. Required Accuracy. 

In order to pass the examination, applicants will be required to attain ninety-five (95) percent accuracy, defined as a maximum of fifty (50) errors on the testimony question-and-answer skills examination and a maximum of forty-five (45) errors on the literary jury charge skills examination. A passing score on the Oklahoma Written Knowledge portion of the examination is seventy (70) percent or better.

Rule 7. Time. 

One (1) hour Seventy-five minutes (75) per test will be given for the transcription the testimony question-and-answer dictation, and one (1) hour seventy-five (75) minutes per test will be given for the transcription of the literary dictation. The time for the Oklahoma Written Knowledge portion of the examination will be forty-five (45) minutes.

Rule 9. Examination Materials - Custody of Transcription and Notes. 

At the examination, each applicant, upon completion of transcription of his/her notes, shall hand over the transcript, the diskette record, if any, the thumb drive, and the notes to the Board member in attendance before leaving the examination room. Each applicant who commences but does not finish the assigned examination shall hand over the notes, the diskette record, if any, the thumb drive, and the portion of the transcript that has been completed before leaving the examination room. An applicant who does not transcribe his/her notes shall hand over the notes and the diskette record, if any, and the thumb drive before leaving the examination room. Computerized records not found on diskette shall be erased by the applicant prior to leaving the examination room.

Rule 10. Examination Materials - Property of the Board. 

All examination materials, including notes, examination papers, computer diskettes, thumb drives and transcripts, shall become the property of the Board.

&nbsp;

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EXHIBIT B

Rules of the State Board of Examiners of Official Shorthand Reporters
Title 20, Chapter 20, App. 1

Rule 4 - Test Requirements

A. Candidates will be allowed in the testing room an hour early to set up and practice. When testing begins, one minute of warmup will be dictated at 180 jury charge, followed by three five-minute 180 jury charge tests, followed by one minute of warmup at 200 Q&amp;A, followed by three five-minute 200 Q&amp;A tests. Transcription time will begin after all dictation is complete.

The examination for enrollment as a certified shorthand reporter shall consist of the following set forth in (1), (2) and (3):

1) Testimony and Proceedings Skills Examination--

(a) Three tests will be administered using a two-voice question-and-answer dictation of testimony at two hundred (200) words per minute for five (5) minutes. Speaker designations such as "Q" and "A" will not be read nor counted as words, but must be appropriately indicated in the transcript.

(b) Seventy-five (75) minutes per test will be given for the transcription of the question-and-answer dictation. The candidate will choose which leg to transcribe in which order and must sign in and out in a log provided by the CSR Board to accurately record the transcription time of each leg. The candidate may choose to transcribe and submit two of the three tests for grading,

2) Jury Charge Materials Skills Examination -- Three tests will be administered using a five-minute dictation of jury charge material at one hundred eighty (180) words per minute. Seventy-five (75) minutes per test will be given for the transcription of the jury charge dictation. Candidate will choose which leg to transcribe in which order and must sign in and out in a log provided by the CSR Board to accurately record the transcription time of each leg. The candidate may choose to transcribe and submit two 180 jury charge tests for grading.

3) The Oklahoma Written Knowledge Test -- A written knowledge test of not less than twenty-five (25) multiple choice questions relating to the Oklahoma law and court rules, duties of certified shorthand reporters, and general court procedure. This section of the examination will be administered in forty-five (45) minutes. Applicants will be provided with the study aids from which the test questions will be taken. The written knowledge test may be administered together with or separately from the skills examination. There is no annual limitation on the number of times the written knowledge test may be administered.

B. Candidates may take one or both of the skills examinations at any regularly scheduled examination. A candidate who has successfully completed either of the skills examinations may retain the credit for that portion of the examination for two (2) years from the date passed, and will not be required to retake that portion of the examination during the two (2) year period.

C. Candidates may take the Oklahoma Written Knowledge Test at any regularly scheduled examination. Proof of minimum proficiency shall not be required for candidates taking only the Oklahoma Written Knowledge Test. A candidate who has successfully completed the Oklahoma Written Knowledge portion of the examination may retain the credit for that portion of the examination for two (2) years from the date passed, and will not be required to retake that portion of the examination during the two (2) year period.

D. A candidate who provides proof of passing the Registered Professional Reporter Examination of the National Court Reporters Association, or an equivalent test as authorized by the Supreme Court, is eligible for enrollment without taking the skills examinations described in paragraphs A.(1) and A.(2) of this Rule. A candidate may pass one leg of the CSR test and one leg of the RSR to be eligible for enrollment as an Oklahoma CSR, provided that the legs meet the totality of the skills tests requirements; a 180 jury charge and a 200 Q&amp;A. The applicant must, prior to certification, pass the Oklahoma Written Knowledge portion of the examination, and meet all other applicable eligibility requirements.

Rule 5. Transcripts - Supplies. 

a. Each candidate shall furnish all supplies and equipment necessary to take and transcribe the test, including a thumb drive to be submitted for ease of printing, with the exception of transcription paper and other items included in (c). Prior to each examination the Board will advise applicants of the permitted computer and/or word processing equipment that may be used to transcribe the examination.

b. A dictionary/electronic spell checker is permitted to be used in transcribing the test but must be furnished by the applicant.

c. The CSR Board will provide the printer, toner, and paper to print all tests. For each test, once transcription is complete, the candidate must upload their test and their steno notes in two separate PDF files to their thumb drive. The candidate will submit the thumb drive to the CSR Board for printing and grading of their test.

Rule 6. Required Accuracy. 

In order to pass the examination, applicants will be required to attain ninety-five (95) percent accuracy, defined as a maximum of fifty (50) errors on the testimony question-and-answer skills examination and a maximum of forty-five (45) errors on the jury charge skills examination. A passing score on the Oklahoma Written Knowledge portion of the examination is seventy (70) percent or better.

Rule 7. Time. 

Seventy-five minutes (75) per test will be given for the transcription the testimony question-and-answer dictation, and seventy-five (75) minutes per test will be given for the transcription of the literary dictation. The time for the Oklahoma Written Knowledge portion of the examination will be forty-five (45) minutes.

Rule 9. Examination Materials - Custody of Transcription and Notes. 

At the examination, each applicant, upon completion of transcription of his/her notes, shall hand over the transcript, the diskette record, if any, the thumb drive, and the notes to the Board member in attendance before leaving the examination room. Each applicant who commences but does not finish the assigned examination shall hand over the notes, the diskette record, if any, the thumb drive, and the portion of the transcript that has been completed before leaving the examination room. An applicant who does not transcribe his/her notes shall hand over the notes and the diskette record, if any, and the thumb drive before leaving the examination room. Computerized records not found on diskette shall be erased by the applicant prior to leaving the examination room.

Rule 10. Examination Materials - Property of the Board. 

All examination materials, including notes, examination papers, computer diskettes, thumb drives and transcripts, shall become the property of the Board.





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